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UN|TED STATES DISTR|CT COURT - SOUTHERN D|STR|CT OF FLORIDA

MODESTA LOPEZ-PAD|LLA,

Case No: 1 :12-CV~2‘1822
Plaintiff,

VS.
UN|TED STATES POSTAL SERVICE,

Defendant.

NOT|CE OF D|SM|SSA|= WlTH PB§JUD|CE
P|aintiff, |VlODESTA LOPEZ-PAD|LLA, hereby provides notice of dismissal with
prejudice of any and all claims herein against UN|TED STATES POSTAL SERV|CE,
with each party to bear their own fees and costs.
CERTIFICAMF ADM|SS|ON

l hereby certify that | am admitted to the bar of the United States District Court for
the Southern District of Florida, and | am in compliance with the additional qualifications
to practice in this Court set forth in Local Rule 2090-1(A).

s/ Stephen W. Schwed
Stephen W. Schwed
Florida Bar No.: 436755
sschwed@schwed|awfirm.com

CERT|F|CATE OF SERV|C§

| HEREB‘( CERT[FY that on this 23rd day of July , 2012, that a true and
correct copy of the foregoing Was electronically filed With the C|erk of the Court using
ClVl/ECF. l also certify that the foregoing document is being served this day on all
counsel of record identified on the attached service list in the manner specified, either
via transmission of Notices of Electronic Filing generated by C|Vl-ECF or in some other
authorized manner for those counsel or parties Who are not authorized to receive
electronically Notice of Electronic Filing.

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§§LVM

(No attorney appeared on behalf of Defendant)

SCHWED, ADAMS, SOBEL &
|V|CG|NLEY, P.A.

7111 Fairway Drive, Suite 105

Palm Beach Gardens, Florida 33418
Telephone: 561-694-6079
Facsimile: 561-694-6089

s/Stephen W. Schwed
Stephen W. Schwed
Florida Bar No.: 436755
sschwed@schwedlawfirm.com

